               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         EASTERN DIVISION
                        No. 2:21-CV-00034-JG

 Lillie Brown Clark,                        )
 as the Administrator                       )
 of the Estate of Andrew Brown, Jr.,        )
                                            )
                     Plaintiff,             )      PLAINTIFF’S REPLY TO
                                            )    DEFENDANTS’ RESPONSE TO
                                            )     PLAINTIFF’S MOTION FOR
 v.                                         )        ATTORNEY’S FEES
                                            )
 Daniel Meads, et al.,                      )
                                            )
                     Defendants.            )
                                            )

      NOW COMES Plaintiff by and through counsel, and, pursuant to Local Rule

7.1(g), reply to Defendants’ response to Plaintiff’s Motion for Attorney’s Fees, and

shows the Court the following:


                                    DISCUSSION

      Although the Defendants claim they take no position on whether this Court

should approve their request for attorney’s fees, the Defendants’ response shows

clear opposition to Plaintiff’s motion for attorney’s fees.

      In their response to Plaintiff’s motion for attorney’s fees, the Defendants

makes the extraordinary leap to conclude that the volume of discovery in this matter

should be proof positive of time and labor Plaintiff’s counsels expended in this



        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 1 of 13
matter. While Plaintiff’s counsel will not speculate on the strategies other

attorneys/litigants employ in prosecuting civil actions on civil rights cases,

Plaintiff’s counsel always conducts a thorough investigation and fact gathering

campaign before an action is brought to ensure validity and credence of all claims.

Upon a cursory review of the Plaintiff’s counsels detailed costs and expenses ledger

(D.E. 114-3 pg. 1-8), this Court can readily deduce that Plaintiff’s counsels expended

a considerable amount of time in North Carolina before the commencement of this

action. The aforementioned time was spent by counsel to investigate, ascertain

credible facts and substantiate the validity of all claims before filing suit.

      Additionally, this Court is aware that the “Shooting of Andrew Brown, Jr.”

garnered national and international attention. Moreover, a high profile happening

such as this matter warrants seasoned attorneys who are experienced in litigating

similar civil rights cases. In this matter, the Plaintiff’s counsel shatters the experience

necessary for litigating a civil rights case of this magnitude. While the Plaintiff’s

counsel has no desire to sound off to this Court all of their experience in litigating

civil right cases, Plaintiff’s counsels are compelled to highlight a snippet of their

experience in litigating civil rights cases to this Court in response to the Defendants’

counsel’s misguided, unprofessional and disrespectful assertion that Plaintiff’s

counsels have little experience in litigating civil right cases. Contrary to the

Defendants’ ill guided claim, Plaintiff’s undersigned counsel Harry M. Daniels, has


                                            2

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 2 of 13
prosecuted approximately 50 civil rights cases in the United States District Courts

and has settled countless civil rights cases pre-suit and post suit. [See Harry M.

Daniels’ Declaration] Notably, Mr. Daniels has successfully brought claims on

behalf of other litigants within the Eastern District of North Carolina prior to this

matter, where settlements were reached. [Id.] Ironically, Defendant Wooten’s

counsels Mr. Chris Geis and Sonny Haynes, were the defense counsel on both cases.

See Dominic Frank v. Sheriff Ernie Coleman, et al, 4:19-cv-00090-BO; also see

Michael Sheppard v. Sheriff Ernie Coleman, 4:19-cv-00086-D. [Id.] Additionally,

Mr. Daniels has argued and filed briefs to the United States Court of Appeals

representing appellants and appellees in use of force cases and other civil rights

matters. [Id.]

      At the time Andrew Brown, Jr. was killed, the nation was dealing with public

protest and outrage surrounding killings of Ahmuad Aubrey, Breonna Taylor, and

George Floyd.     Notably, before the ink dried on the jury verdict form in the

prosecution of Officer Derrick Chauvin--convicted killer of George Floyd, Andrew

Brown, Jr. was killed by Pasquotank County Sheriff’s Office deputies the day after

Chauvin’s conviction. This Court should be made aware that one of Plaintiff’s

retained counsel, Benjamin L. Crump, also represented the father of Ahmaud




                                          3

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 3 of 13
Arbery1, the family of Breonna Taylor2, and the family of George Floyd3. Breonna

Taylor’s family reached a historical settlement with the City of Louisville, Kentucky

in the amount of $12 Million dollars4. Additionally, George Floyd’s family reached

a historical settlement in the amount of $27 Million dollars with the City of

Minneapolis, Minnesota.5

       Finally, Plaintiff’s counsel of record Bakari Sellers, has served as counsel in

numerous civil rights cases. Mr. Sellers served as counsel in In re Black Farmers

Discrimination, l:08-mc-0511-PLF, a settlement was reached in the amount of $1.3

billion dollars. [See Bakari Sellers’ Declaration] Mr. Sellers served as counsel for

family members of the victims of the Mother Emmanuel Church shooting in

Charleston, SC in a suit against the Department of Justice, a settlement was reached

in the amount of $88 million dollars.6 [Id.] Mr. Sellers served as counsel for inmates


1https://www.savannahnow.com/videos/news/2021/10/18/attorney-ben-crump-representing-
ahmauds-father-marcus-arbery-addresses-media/8507203002/
2https://www.nbcnews.com/news/us-news/breonna-taylor-family-lawyer-blasts-grand-jury-
decision-sham-proceeding-n1240907
3https://www.npr.org/2021/03/09/975414845/george-floyd-family-lawyer-ben-crump-trial-is-a-
chance-for-justice
4 https://www.reuters.com/article/us-global-race-usa-taylor-crump/behind-12-million-breonna-
taylor-settlement-black-americas-attorney-general-benjamin-crump-idUSKBN2671NJ
5https://www.npr.org/2021/03/13/976785212/minneapolis-agrees-to-pay-27-million-to-family-
of-george-floyd
6https://apnews.com/article/religion-shootings-south-carolina-columbia-massacres-
bf74d1568bec6199712b3423f71fda9a
                                              4

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 4 of 13
in one of the deadliest prison riots in America’s history, a settlement was reached in

the amount of $6 million dollars.7 [Id.] The above examples highlight the realm of

experience, dedication, skill, and ability that Plaintiff’s counsels possess to

prosecute complex civil rights cases such as this matter.

      A. 40% fee agreements are reasonable for civil rights cases across the
         country, due to complexity and hours required of lawyers’ services to
         properly litigate such cases.

         In this matter, counsels of record for the Plaintiff, have submitted via

declarations and affidavit, 1,610 attorney’s hours. Plaintiff’s counsels undoubtedly

could have lost other employment due to the acceptance of this case which they took

on a contingency fee basis. See Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)

(noting that complex civil rights litigation “is lengthy and demands many hours of

lawyers' services”). Plaintiff’s counsels also faced a likelihood that they would

receive virtually no return on the work they invested in the case. Further, contrary to

the Defendants’ argument that this case did not present any complex legal issue

concerning the use of deadly force towards Andrew Brown, Jr.; this case presented

a host of complicated issues including questions related to the Fourth Amendment,

use of force, due process, qualified immunity, and governmental immunity.




7   https://abcnews.go.com/Politics/wireStory/south-carolina-initial-6m-prison-riot-deal-78558111


                                                 5

           Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 5 of 13
         Such complications compelled Plaintiff’s counsels to retain and consult with

Professor Geoffrey P. Alpert, an expert in law enforcement use of force and expert

witness, surrounding the shooting death of Andrew Brown. Jr. (See Exhibit A,

Geoffrey P. Alpert’s Curriculum Vitae). Plaintiff’s counsels paid Professor Alpert a

$6,000.00 non-refundable fee to retain his services. (See Exhibit B, Geoffrey P.

Alpert’s Retainer Agreement). Further, the lack of transparency surrounding the

shooting death of Andrew Brown, Jr, added an additional layer of complexity.

Notably, not until suit was filed in this matter, Plaintiff’s counsels ascertained access

to the full unredacted body camera footage via North Carolina State Bureau of

Investigations; and discovered what actually occurred on the date Andrew Brown.

Jr. was killed. Furthermore, this action has five named Defendants. Each Defendant

is represented by different counsel(s). Any case that has multiple defendants, claims,

and potential witnesses such as this matter, adds an additional layer of complexity.

Finally, District Attorney Andrew Womble’s public declaration that the shooting

death of Andrew Brown Jr. was justified, added an additional layer of complexity.8

         A forty percent (40%) contingency fee is reasonable in civil rights cases

because it reflects the risk of nonrecovery the attorneys assumed in accepting civil

rights cases. See Venegas v. Skaggs, 867 F.2d 527, 534 (9th Cir. 1989).




8
    https://www.cnn.com/2021/05/18/us/district-attorney-andrew-brown-jr-decision/index.html

                                                6

           Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 6 of 13
Additionally, statutory awards equivalent to a 40% contingency fee have been

upheld in a civil rights case even though the case had "settled precedent, and no

defense of immunity" See Hagge v. Bauer, 827 F.2d 101, 110 (7th Cir. 1987) (40%

contingency represented a reasonable fee under § 1988). Finally, the United States

Supreme Court held that a civil rights attorney's customary 40% contingency fee did

not place a ceiling on the amount of fees that an attorney could recover under the

fee-shifting statute. Blanchard v. Bergeron, 489 U.S. 87, 96 (1989).” 2015).

   B. The Degree of success obtained

      The most critical factor in determining whether Plaintiff’s counsels’ 40%

contingency fee is reasonable, is the degree of success obtained in this matter. See

Hensley, 461 U.S. at 436. The primary goal in bringing this action, was to secure the

present needs and financial future of Andrew Brown, Jr.’s legitimate children.

Plaintiff’s attorneys were able to negotiate a $3 million dollar settlement despite the

fact the Defendants were only insured for $2 million dollars under an eroding

insurance policy. Additionally, the Plaintiff has presented to this Court a proposed

structured settlement annuity for the minor legitimate children of Andrew Brown,

Jr. (see D.E. 123 pg. 1-5.) The annuity establishes financial security for the minor

legitimate children upon reaching the age of majority. (see D.E. 123 pg. 1-5.)

Further, the Plaintiff has presented to this Court that a portion of the settlement will

be placed in an interest-bearing trust account and maintained by a professional trust

                                           7

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 7 of 13
company. The trust account is for the purpose of purchasing a home for the minor

legitimate children of Andrew Brown, Jr., maintaining health insurance for the minor

legitimate children of Andrew Brown, Jr., and other basic needs for the minor

legitimate children of Andrew Brown, Jr. When taking the proposed structured

settlement and proposed trust for the minor legitimate children of Andrew Brown,

Jr. into consideration, the minor legitimate children of Andrew Brown, Jr, will

ultimately be distributed more than half of the present-day settlement amount of $3

million dollars. The settlement also provides immediate financial support for

Andrew Brown, Jr.’s adult legitimate children as well.

      Despite the challenges, the attorneys for the family of Andrew Brown Jr.

successfully secured a settlement above the policy limits, avoided the effects of an

eroding insurance policy, and mitigated the suffering of the minor and adult children

of Andrew Brown Jr. with financial security for years to come. Plaintiff’s attorneys

achieved a very successful outcome for the beneficiaries of Andrew Brown, Jr.

Therefore, Plaintiff’s 40% contingency fee is reasonable.

   C. Plaintiff’s counsels’ collective costs and expenses is $43,428.77

      The expenses claimed by Plaintiff’s counsel of $41,832.52 in Plaintiff’s initial

motion was a miscalculation. Plaintiff’s costs and expense are accurately reflected

in D.E. 114-3 pg. 1-8, in the amount of $43,428.77.



                                          8

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 8 of 13
                                  CONCLUSION

      Based on the foregoing, Plaintiff respectfully requests that this Honorable

Court grant her motion for attorney’s fees, costs, and expenses.

      Respectfully submitted this the 29th of July 2022.

                                             /s/ Harry M. Daniels
                                             Harry M. Daniels
                                             The Law Offices of Harry M. Daniels,
                                             LLC
                                             233 Peachtree St. NE Ste. 1200
                                             Atlanta, GA 30303
                                             Tel. 678.664.8529
                                             daniels@harrymdaniels.com
                                             Georgia Bar No.: 234158

Special Appearance of counsel for Plaintiff in the above-captioned
matter, in accordance with Local Civil Rule 83.1(d).

                                             /s/ Chantel Cherry-Lassiter
                                             Chantel Cherry-Lasiter
                                             CCL LAW OFFICE, PLLC
                                             1851 W. Ehringhaus St. #136
                                             Elizabeth City, NC 27909
                                             Tel. 252.999.8380
                                             Fax. 252.999.8381
                                             chantelcherrylassiter@ccllaw.org
                                             NC Bar No.: 54345

Local Counsel Rule 83.1(d) Counsel for Plaintiff.

                                             /s/ Chance D. Lynch
                                             Chance D. Lynch
                                             LYNCH LAW, PLLC.
                                             1015A Roanoke Ave. Suite A
                                             Roanoke Rapids, NC 27870
                                         9

        Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 9 of 13
                                            Tel. 252.507.0110
                                            Fax. 252.565.0102
                                            chancelynch@lynchlaw.org
                                            NC Bar No.: 39872

Local Counsel Rule 83.1(d) Counsel for Plaintiff

                                            /s/ Bakari T. Sellers
                                            STROM LAW FIRM
                                            6923 N. Trenholm Road
                                            Columbia, SC 29206
                                            Tel. 803.252.4800
                                            bsellers@stromlaw.com
                                            South Carolina Bar No.: 79714

Special Appearance of counsel for Plaintiff in the above-captioned
matter, in accordance with Local Civil Rule 83.1(d).




                                       10

       Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 10 of 13
                         CERTIFICATE OF SERVICE

      I hereby certify that on July 29, 2022, I electronically filed the foregoing

PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S

MOTION FOR ATTORNEY’S FEES with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to the following CM/ECF

participants:


                            Christopher J. Geis
                      Womble Bond Dickinson (US) LLP
                          One West Fourth Street
                         Winston Salem, NC 27101
                               336-721-3543
                            Fax: 336-726-2221
                       Email: Chris.Geis@wbd-us.com

                            Ripley Eagles Rand
                      Womble Bond Dickinson (US) LLP
                      555 Fayetteville Street, Suite 1100
                             Raleigh, NC 27602
                               919-755-8125
                             Fax: 919-755-6752
                      Email: Ripley.Rand@wbd-us.com

                               Sonny S. Haynes
                       Womble Bond Dickinson (US) LLP
                            One West Fourth Street
                          Winston-Salem, NC 27101
                          Telephone: (336) 721-3600
                       Email Sonny.Haynes@wbd-us.com

                          Dan McCord Hartzog , Jr.
                          Hartzog Law Group LLP
                      2626 Glenwood Avenue, Suite 305
                                       11

       Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 11 of 13
                      Raleigh, NC 27608
                         919-480-2450
                      Fax: 919-480-2450
            Email: dhartzogjr@hartzoglawgroup.com

                   Katherine Barber-Jones
                   Hartzog Law Group LLP
             2626 Glenwood Avenue, Suite 305
                     Raleigh, NC 27608
                        919-424-0091
                     Fax: 919-424-0091
          Email: kbarber-jones@hartzoglawgroup.com

                  Frederick Hughes Bailey, III
                         Sumrell Sugg
                      416 Pollock Street
                     New Bern, NC 28560
                         252-633-3131
                      Fax: 252-633-3507
                 Email: fbailey@nclawyers.com

                    Ryan David Eubanks
                         Sumrell Sugg
                      416 Pollock Street
                    New Bern, NC 28560
                         252-633-3131
                      Fax: 252-633-3507
                Email: reubanks@nclawyers.com

                         Scott C. Hart
                         Sumrell Sugg
                     416 Pollock Street
                    New Bern, NC 28560
                         252-633-3131
                     Fax: 252-633-3507
                  Email: shart@nclawyers.com

                  Norwood P. Blanchard , III
        Crossley McIntosh Collier Hanley & Edes, PLLC
                    5002 Randall Parkway
                              12

Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 12 of 13
                   Wilmington, NC 28403
                        910-762-9711
                      Fax: 910-256-0310
               Email: norwood@cmclawfirm.com

                                   /s/Harry M. Daniels
                                   Harry M. Daniels
                                   The Law Offices of Harry M. Daniels,
                                   LLC
                                   233 Peachtree St. NE, Ste. 1200
                                   Atlanta, GA 30303
                                   Tel. 678.664.8529
                                   Fax. 800.867.5248
                                   daniels@harrymdaniels.com
                                   Georgia Bar No.: 234158




                              13

Case 2:21-cv-00034-JG Document 127 Filed 07/29/22 Page 13 of 13
